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Dated: July 13, 2018
The following is ORDERED:




                        UNITED STATES BANKRUPTCY COURT
                             Western District of Tennessee
In re:                                                                         Case No.: 12−27642
Donal Martin McDonagh
xxx−xx−4108
Michele Rawls McDonagh
Debtor(s)
                                                                               Chapter No.: 13


  ORDER APPROVING CHAPTER 13 TRUSTEE'S FINAL REPORT AND ACCOUNT;
                  DISCHARING CHAPTER 13 TRUSTEE;
        AND CLOSING CHAPTER 13 CASE COMBINED WITH RELATED
             ORDERS AND NOTICE OF THE ENTRY THEREOF

    It appears to the court that the above−named debtor(s) filed a petition and plan under chapter 13 of the
Bankruptcy Code on July 20, 2012; that the chapter 13 plan of the debtors(s) has been confirmed; that the debtor(s)
has completed all payments under the confirmed plan and also has complied with all related statutory provisions; that
the Chapter 13 trustee has filed a final report and account; and that the estate has been fully administered.
Accordingly, and based on the case record as a whole,

              IT IS ORDERED AND NOTICE IS HEREBY GIVEN THAT:
          1. The Chapter 13 trustee's final report and account is approved.

          2. The Chapter 13 trustee is discharged.

          3. This Chapter 13 case is closed.

          4. The Bankruptcy Court Clerk shall promptly cause a copy of this order and notice to be sent to all
             creditors; the United States trustee for Region 8; the Chapter 13 trustee; the debtor(s); the attorney
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    for the debtor(s), if applicable; and any entities who have filed a request that all notices be sent to
    them.

  5. A party in interest may file, pursuant to Fed. R. Bankr.P. 9023, a motion with the court no later than
     fourteen (14) days after entry of this order seeking to vacate, alter, or amend this order.

  6. If no party in interest files a motion pursuant to Fed. R. Bankr.P. 9023 LPT within fourteen (14)
     days after entry of this order, this order will become final on it's own terms without further notice
     and order.

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